                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           CASE NO. 3:21-CV-493-RJC-DCK

 JERRY GREEN, and LINDA PETROU,                        )
                                                       )
                 Plaintiffs,                           )
                                                       )
     v.                                                )       ORDER
                                                       )
 KAREN BRINSON BELL,                                   )
                                                       )
                 Defendant.                            )
                                                       )


          THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 5) filed by Robert N. Hunter, Jr., concerning Cameron T.

Norris, on September 24, 2021. Cameron T. Norris seeks to appear as counsel pro hac vice for

Plaintiffs. Upon review and consideration of the motion, which was accompanied by submission

of the necessary fee and information, the Court will grant the motion.

          IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 5) is GRANTED. Cameron T. Norris

is hereby admitted pro hac vice to represent Plaintiffs.

          SO ORDERED.

                                         Signed: September 24, 2021




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